   Case 1:19-cr-00576-BMC Document 1 Filed 12/04/19 Page 1 of 5 PageID #: 1
                                                                                       FILED
                                                                                 IN CLERK'S OFFICE
                                                                           U.S. DISTRICT COURT E.D.N.Y.

                                                                          *      DEC 0 4 2019      *
MPR:RCH/EMR
F. #2019R00927                                                               BROOKLYN OFFICE

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
                                        X


UNITED STATES OF AMERICA                               IND.          M.
                                                                                 S3B

       - against -                                     Cr.Na
                                                       (T. 18, U.S.C., §§ 2,1001(a)(2), 3238
GENARO GARCIA LUNA,                                     and 3551 et seq.: T. 21, U.S.C., §§ 846,
                                                        841(b)(l)(A)(ii)ai), 853(a), 853(p),
                        Defendant.

                                                                        J Wo
                                        X
THE GRAND JURY CHARGES:
                                                        LEVY. M.J.
                                        COUNT ONE
                       (International Cocaine Distribution Conspiracy)

              1.      In or about and between January 2001 and the present, both dates being

approximate and inclusive, within the extraterritorial jurisdiction ofthe United States, the

defendant GENARO GARCIA LUNA,together with others, did knowingly and intentionally

conspire to distribute a controlled substance, intending, knowing and having reasonable

cause to believe that such substance would be unlawfully imported into the United States

from a place outside thereof, which offense involved a substance containing cocaine, a

Schedule 11 controlled substance, contrary to Title 21, United States Code, Sections 959(a)

and 960(a)(3). The amount of cocaine involved in the conspiracy attributable to the

defendant as a result of his own conduct, and the conduct of other conspirators reasonably

foreseeable to him, was at least five kilograms or more ofa substance containing cocaine.

              (Title 21, United States Code, Sections 963, 960(b)(l)(B)(ii) and 959(d); Title

18, United States Code, Sections 3238 and 3551 et seq.I
   Case 1:19-cr-00576-BMC Document 1 Filed 12/04/19 Page 2 of 5 PageID #: 2




                                        COUNT TWO
          (Conspiracy to Distribute and Possess with Intent to Distribute Cocaine)

               2.     In or about and between January 2001 and the present, both dates being

approximate and inclusive, within the Eastern District ofNew York and elsewhere, the

defendant GENARO GARCIA LUNA,together with others, did knowingly and intentionally

conspire to distribute and possess with intent to distribute one or more controlled substances,

which offense involved a substance containing cocaine, a Schedule 11 controlled substanqe,

contrary to Title 21, United States Code, Section 841(a)(1). The amount of cocaine

involved in the conspiracy attributable to the defendant as a result of his own conduct, and

the conduct of other conspirators reasonably foreseeable to him, was five kilograms or more

of a substance containing cocaine.

              (Title 21, United States Code, Sections 846 and 841(b)(l)(A)(ii)(II); Title 18,

United States Code, Sections 3551 ^ seq.)

                                       COUNT THREE
                               (Conspiracy to Import Cocaine)

              3.     In or about and between January 2001 and the present, both dates being

approximate and inclusive, within the Eastern District ofNew York and elsewhere, the

defendant GENARO GARCIA LUNA,together with others, did knowingly and intentionally

conspire to import a controlled substance into the United States from a place outside thereof,

which offense involved a substance containing cocaine, a Schedule 11 controlled substance,

contrary to Title 21, United States Code, Sections 952(a) and 960(a)(1). The amount of

cocaine involved in the conspiracy attributable to the defendant as a result of his own
   Case 1:19-cr-00576-BMC Document 1 Filed 12/04/19 Page 3 of 5 PageID #: 3




conduct, and the conduct of other conspirators reasonably foreseeable to him, was five

kilograms or more of a substance containing cocaine.

                 (Title 21, United States Code, Sections 963 and 960(b)(l)(B)(ii); Title 18,

United States Code, Sections 3551 ^ seq.)

                                         COUNT FOUR
                                   (Making False Statements)

                 4.     On or about June 1,2018, within the Eastern District ofNew York and

elsewhere, the defendant GENARO GARCIA LUNA did knowingly and intentionally make

one or more materially false, fictitious and fraudulent statements and representations, in a

matter within the jurisdiction ofthe executive branch ofthe Government ofthe United States

to wit: a statement to the United States Customs and Immigration Services("USCIS"), in

that the defendant falsely stated and represented to USCIS that he had never committed,

assisted in committing, or attempted to commit a crime or offense for which he had not been

arrested, when,in fact, the defendant then and there knew and believed, he had committed,

assisted in committing and attempted to commit crimes and offenses for which he had not

been arrested.


              (Title 18, United States Code, Sections 1001(a)(2) and 3551 et seq.)

                           CRIMINAL FORFEITURE ALLEGATION
                          AS TO COUNTS ONE THROUGH THREE


                 5.     The United States hereby gives notice to the defendant that, upon his

conviction of any ofthe offenses charged in Counts One through Three,the government will

seek forfeiture in accordance with Title 21, United States Code, Sections 853(a) and 970,

which require any person convicted ofsuch offenses to forfeit:(a) any property constituting,

or derived from,any proceeds obtained directly or indirectly as the result ofsuch offenses.
   Case 1:19-cr-00576-BMC Document 1 Filed 12/04/19 Page 4 of 5 PageID #: 4




and(b)any property used, or intended to be used, in any manner or part, to commit, or to

facilitate the commission of, such offenses.

               6.     If any ofthe above-described forfeitable property, as a result of any act

or omission ofthe defendant:

                      (a) cannot be located upon the exercise of due diligence;

                      (b) has been transferred or sold to, or deposited with, a third party;

                      (c) has been placed beyond the jurisdiction ofthe court;

                      (d) has been substantially diminished in value; or

                      (e) has been commingled with other property which cannot be

divided without difficulty;

it is the intent ofthe United States, pursuant to Title 21, United States Code, Section 853(p),

to seek forfeiture of any other property ofthe defendant up to the value ofthe forfeitable

property described in this forfeiture allegation.

              (Title 21, United States Code, Sections 853(a), 853(p)and 970)


                                                                 A TRUE BILL




                                                                FOREPERSON




RICHARD P. DONOGHUE    3HUE (J
UNITED STATES ATTORNEY
EASTERN DISTRICT OF NEW YORK
                                                                           FJ:2019R00927
                                                                           FORMDBD-34      No.
                                                                           JUN.85
Case 1:19-cr-00576-BMC Document 1 Filed 12/04/19 Page 5 of 5 PageID #: 5




                                                                                                  UNITED STATES DISTRICT COURT
                                                                                                                EASTERN District of NEW YORK
                                                                                                                        CRIMINAL DIVISION
                                                                                                         THE UNITED STATES OF AMERICA
                                                                                                                                    VS.
                                                                                                                       GENARO GARCIA LUNA,
                                                                                                                                                           Defendant,
                                                                                                                         INDICTMENT                    .
                                                                                            (T. 18, U.S.C., §§ 1001(a)(2), 1451(e), 3238 and 3551 at seq.; T. 21,
                                                                                                 U.S.C., §§ 846,841(b)(l)(A)(ii)(n), 853(a), 853(p), 959(d),
                                                                                                                      960(b)(l)(B)(ii), 963 and 9701
                                                                                                 A true bill.
                                                                                                                                                             Foreperson
                                                                                           Filed in open court this                       day,
                                                                                           of                         A.D.20
                                                                                                                                                                  Clerk
                                                                                           Bail, $
                                                                                             Michael Robotti,Ryan Harris and Erin Raid,Assistant U.S. Attorneys
                                                                                                                     (718)254-7000
